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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION

JAMES ALEXANDER ALDAPE,                         §
                                                §
       Plaintiff,                               §
                                                §
v.                                              §        Civil Action No. 5:22-cv-368-FB-HJB
                                                §
CENLAR FSB,                                     §
                                                §
       Defendant.                               §

                           JOINT STIPULATION OF DISMISSAL

       Plaintiff James Alexander Aldape (“Plaintiff”) and Defendant Cenlar FSB (“Defendant”)

(collectively the “Parties”), hereby stipulate and agree that pursuant to Federal Rule of Civil

Procedure 41(a)(1)(A)(ii), all claims and causes of action asserted or could have been asserted by

Plaintiff against Defendant are hereby dismissed with prejudice.



                                             Respectfully submitted,

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